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                                 IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA,

 Plaintiff,

                      v.                                                     CRIMINAL NO. 06-226 (ADC)

 JUAN REYES-MARTI,

 Defendant.



                                    REPORT AND RECOMMENDATION

          Defendant Juan Reyes-Marti was charged in a three (3) counts Indictment and he agreed

to plead guilty to Count Two. Count Two charges that, on or about March 30, 2006, in the

District of Puerto Rico and within the jurisdiction of this Court, the defendant, Juan Reyes-Marti,

and a co-defendant, aiding and abetting each other, did knowingly and intentionally possess with

intent to distribute fifty (50) grams or more of cocaine base, a Schedule II, Narcotic Drug

Controlled Substance, in violation of Title 21, United States Code, Section 841(a)(1) and Title

18, United States Code, Section 2.

          Defendant appeared before this Magistrate Judge on December 19, 2006, since the Rule

11 hearing was referred by the Court. Defendant was provided with a Waiver of Right to Trial

by Jury, which he signed and agreed upon voluntarily after examination in open court, under

oath.

          Defendant indicated and confirmed his intention to plead guilty to Count Two of the

Indictment, upon being advised of his right to have said proceedings before a district judge of this

court. 1 Upon verifying through defendant’s statement his age, education and any relevant aspect



          1
              The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (R ule 11, Fed.R.Crim.P .) and Wa iver of Ju ry Trial, signed and consented by bo th parties is made part of the reco rd.
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as to the use of medication, drugs, alcohol or substance dependency, and psychological or

psychiatric condition, to ascertain his capacity and ability to understand, answer and comprehend

the interactive colloquy with this Magistrate Judge, a determination was made as to defendant’s

competency and ability to understand the proceedings.

        Having further advised defendant of the charges contained in above-stated Count Two,

he was examined and verified as being correct that: he had consulted with his counsel, Yasmín

Irizarry-Pietry, from the Federal Defender’s Office, prior to the hearing for change of plea, that

he was satisfied with the services provided by his legal representative and had time to discuss with

her all aspects of the case, insofar, among other things, regarding the change of plea, the consent

to proceed before a United States Magistrate Judge, the content of the Indictment and the charge

therein, his constitutional rights and the consequences of the waiver of same.

        Defendant was specifically appraised by this Magistrate Judge that, upon withdrawing his

initial plea of not guilty and now entering a plea of guilty to the charge specified, he was waiving

his right to a public, speedy, and a trial by jury constituted by twelve jurors who have to

unanimously agree to a verdict. He was also waiving his right to be presumed innocent and for

the government to meet the obligation of establishing his guilt beyond a reasonable doubt.

Furthermore, he was waiving his right during said trial to confront the witnesses who were to

testify against him and be able to cross-examine them, through counsel at said trial, as well as

present evidence on his behalf. He was also waiving the right to compel the attendance of

witnesses and that subpoenas be issued to have them appear in court to testify. Defendant was

specifically appraised of his right to take the stand and testify, if he so decided, or not to testify,

and no inference or decision as to his guilt could be made from the fact if he decides not to
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testify. Defendant was also explained his right not to incriminate himself; that upon such a waiver

of all above-discussed rights a judgment of guilty and his sentence were to be based on his plea

of guilty, and he would be sentenced by the judge after considering the information contained

in a pre-sentence report.

        As to all the above, defendant provided an individualized and positive acknowledgment

of each and every waiver and, with the assistance of his counsel, Attorney Irizarry-Pietry,

indicated he freely and voluntarily waived those rights and understood the consequences. During

all this colloquy, defendant was made aware that he could freely request from this Magistrate

Judge any additional clarification, repetition, or ask questions and that he may consult with his

attorney at any given time as to any issue.

        Defendant expressed his understanding of the penalties prescribed by statute for the

offenses as to which he was pleading guilty. The penalty for the offense charged in Count Two

is term of imprisonment which may not be less than ten (10) years and not more than life, a fine

not to exceed four million dollars ($4,000,000.00). The Court must also impose a mandatory

penalty assessment of one hundred dollars($100.00), per count, a term of supervised release of

up to five (5) years.

        However, based on the amount of narcotics stipulated between the parties (at least thirty

five (35) grams but less than fifty (50) grams of cocaine base (“crack”)), it is understood that the

maximum penalty for the offense charged in Count Two of Criminal No. 06-226(ADC) is a

minimum term of five (5) years and a maximum term of forty (40) years incarceration.

Additionally, the Court must impose a term of supervised release of at least four (4) years after

the period of incarceration. The Court may also impose a fine not to exceed two million dollars
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($2,000,000.00).The Court must also impose a mandatory penalty assessment of one hundred

dollars($100.00), per count.

        Having ascertained directly from defendant that he had not been induced in any way to

plead guilty, that no one had forced him in any way to plead guilty, nor that he had been offered

any reward or any other thing of value to get him to plead guilty, the document entitled “Plea

Agreement pursuant to Rule 11(c)(1)(B) FRCP” (“the Agreement”) was shown to defendant,

verifying his signature and initials on each and every page.

        Pursuant to said Agreement, and insofar as Count Two, as to which defendant already

was aware of the maximum possible penalties, defendant was appraised that it was up to the sole

discretion of the sentencing court what the sentence to be imposed on him will be. Defendant

was specifically informed that if the sentencing court were to impose a sentence which turned out

to be higher or more severe than the one he might be expecting, for said reason alone, defendant

would have no grounds for the court to allow him to withdraw his plea of guilty.

        The above-captioned parties’ estimate and agreem ent that appears on page four (4),

paragraph eight (8) of the Agreement, regarding the possible applicable advisory Sentencing

Guidelines, were further elaborated and explained. Pursuant to U.S.S.G. § 2D1.1(a)(3) and

(c)(5), the defendant agrees and stipulates that he shall be held criminally responsible and for

sentencing guidelines calculations to an amount of narcotic drugs that is at least thirty-five (35)

grams, but less than fifty (50) grams, of cocaine base (“crack”), for a base offense level of Thirty

(30). Pursuant to U.S.S.G. § 3E1.1, a decrease of three (3) levels is agreed for acceptance of
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responsibility. Therefore, the Total Offense Level is Twenty-Seven (27), with a sentencing range

of seventy (70) to eighty-seven (87) months of imprisonment assuming a Criminal History

Category of I.

        Should defendant meet all the requirements of the “safety valve” provisions, then the

defendant would be entitle to a further two (2) level reduction in the Base Offense Level, which

would result in an Adjusted Total base Offense Level of Twenty-five (25), which has a range of

fifty-seven (57) to seventy-one (71) months of imprisonment, assuming a Criminal History

Category of I. The parties do not stipulate any assessment as to the defendant’s Criminal History.

        Defendant was explained by this Magistrate Judge, and by her counsel as to the safety

valve provisions, if these were to be applicable to his case, including the five (5) requirements to

be met, as explained in detail in paragraph nine (9) of the Agreement.

        As indicated in paragraph ten (10) of the Agreement, the parties will recommend the lower

end of the applicable guideline range. The parties agree that this represents a reasonable

sentence within the parameters of the U.S. Sentencing Guidelines.

        Also, as part of the Agreement, as indicated in paragraph thirteen (13), upon sentencing

the United States shall move for the dismissal of the Counts One and Three of the Indictment.

        As part of the written Agreement, the government, the defendant, and his counsel also

agreed they are aware that the Sentencing Guidelines are no longer mandatory and are thus

considered advisory.

        The government presented to this Magistrate Judge and to defendant, assisted by his

counsel, a summary of the basis in fact for the offenses charged and the evidence the government

had available to establish, in the event defendant had elected to go to trial, the commission of
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the offense, beyond a reasonable doubt. Counsel and defendant acknowledged the evidence of

the government was fully disclosed to them and previously discussed between the two.

Defendant was able to understand this explanation and agreed with the government’s

submission. Defendant was also read and shown a written document entitled Statement of Facts,

which had been signed by defendant and his counsel and is attached to the Agreement, wherein

the signature of counsel for the government also appears.

         Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

         Having once more ascertained that defendant has indicated not being induced to plead

guilty, and was entering such a plea because in fact he is guilty, without any promises or

predictions being made as to the sentence to be imposed by the court, defendant was informed

that parole has been abolished under the advisory Sentencing Reform Act and that any sentence

of imprisonment would be served, without him being released on parole. Defendant was

additionally informed that prior to sentence, the sentencing judge will have a pre-sentence report

and that it would be made available to him, to his counsel and to the government, so that they

be allowed to correct or object to any information contained in said report which was not

accurate. Depending on the facts found by the court at the time and the sentence imposed, both

defendant and the government may appeal the sentence of the court.2




         2
           The right to appeal is subject to certain limitations allowed by law since the Agreement also includes in paragraph
twenty-o ne (2 1) a waiver o f app eal.
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        Defendant waived the reading of the Indictment in open court because he is aware of its

content. Defendant was provided an opportunity to see and examine same, indicating he availed

himself of the opportunity to further discuss same with his attorney and then he positively stated

that what was contained in Count Two was what he had done and to which he was pleading

guilty during these proceedings. Thereafter, defendant expressed in no uncertain terms that he

agreed with the government’s evidence as to his participation in the offense. Thereupon,

defendant indicated he was pleading guilty to Count Two of the Indictment in Criminal No.

06–226 (ADC).

        This Magistrate Judge after having explained to the defendant his rights, ascertaining that

he was acting freely and voluntarily to the waiver of such rights and in his decision of pleading

guilty, with full knowledge of the consequences thereof, and there being a basis in fact for such

a plea, is recommending that a plea of guilty be entered as to Count Two of the Indictment in

Criminal No. 06-226 (ADC).

        IT IS SO RECOMMENDED.

        The sentencing hearing will be scheduled promptly before Honorable Aida Delgado-

Colón, District Court Judge.

        San Juan, Puerto Rico, this 26th day of December of 2006.




                                                    s/ CAMILLE L. VELEZ-RIVE
                                                    CAMILLE L. VELEZ-RIVE
                                                    UNITED STATES MAGISTRATE JUDGE
